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IN THE UNITED sTATEs DISTRICT COURT 05 :!;PRZ{ fm 9 d
FoR THE WESTERN DISTRICT oF TENNESSEE ` 4
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UNITED STATES OF AMERICA,
Plaintiff,
vs. Cr. No. 00-20059(G)Ma

KARLOS CLINTON ,

Defendant.

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ORDER DENYING MOTIONS FOR FREE TRANSCRIPTS AND COPIES
AND
ORDER DENYING MOTION FOR EXTENSION OF TIME
TO FILE MOTION UNDER 28 U.S.C. § 2255

 

On June lO, 2004, the defendant, Karlos Clinton, Bureau of
Prisons registration number 17305-076, an inmate at the Federal
Correctional Institution in Memphis, filed a ppg §§ motion
requesting free transcripts and copies. On March 22, 2005, Clinton
filed a motion for an extension of time to file a motion under 28
U.S.C. § 2255.

Defendant Karlos Clinton was convicted by a jury at retrial on
two counts of armed robbery, in violation of 18 U.S.C. §§ 2 and
2llB(a), (d), and two counts of carrying, using, or brandishing a
firearm during and in relation to a crime of violence, in violation
of 18 U.S.C. §§ 2 and. 924(¢). Clinton. was sentenced. to two
concurrent terms of 70 months imprisonment for each robbery count,

a consecutive sentence of seven years imprisonment on the first

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firearms count, and an additional consecutive sentence of 25 years
imprisonment on the second firearms count. Clinton appealed and
the Sixth Circuit affirmed the judgment of the district court.
United States v. Clinton, No. 01-5731, 338 F.3d 483 (6th Cir. Aug.
5, 2003), cert. denied, No. 03-7347, 540 U.S. 1084 (Dec. 8, 2003).

Clinton requests copies of the trial transcripts and
sentencing transcript.1 If an indigent criminal defendant seeks a
free transcript to use in preparing a motion under 28 U.S.C. §
2255, he may only obtain one "if the trial judge or a circuit judge
certifies that the suit . . . is not frivolous and_ that the
transcript is needed to decide the issue presented by the suit."
28 U.S.C. § 753(£).

In order for the Court to decide if the suit is not frivolous,
a defendant must make a particularized showing of need for the
transcript to justify providing the transcript at government
expense. United States v. MacCollom, 426 U.S. 317, 326 (1976). "A
federal prisoner is not entitled to obtain copies of court records
at the Government's expense to search for possible defects merely
because he is indigent." Campbell v. United States, 538 F.2d 692,
693 (5th Cir. 1976). See also United States v. Lewis, 605 F.Zd
379, 380 (8th Cir. 1979)(no post-appeal right to a transcript
before filing motion under 28 U.S.C. § 2255); §§n;ley_yé_§gi;gd
States, 431 F.2d 250, 252 (6th Cir. 1970)(defendant not entitled to

free transcript to search for grounds to file a motion under §

 

l Clinton also seeks copies of transcripts for hearings on pre-trial

motions. The case file does not contain any transcripts for pre-trial motions,
nor does the docket reflect that any hearings were held on pre-trial motions.

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2255); United States v. Glass, 317 F.2d. 200, 202 (4th Cir.
1963)("An indigent is not entitled to a transcript at government

expense without a showing of the need, merely to comb the record in

the hope of discovering some flaw.").2

“If the Court is not given the benefit of some definite
allegation as to the nature of the alleged illegal
aspects of the judgment and sentence, it is but natural
to surmise that this is a fishing expedition and that the
present vague allegation of illegality is not made in
good faith.”

Culbert v. United States, 325 F.2d 920, 922 (8th Cir. 1964)(quoting

United States v. Lawler, 172 F. Supp. 602, 605 (S.D. Tex. 1959)).

 

Clinton provides no factual basis supporting any claims to be
derived from the requested transcripts. He merely alleges that a
failure to grant his request “would result in a denial of due
process.” The defendant has thus not shown any particularized need
for transcripts, and the Court has no grounds on which it can
conclude, as required by section 753(f), that a motion to vacate,
if filed, would be nonfrivolous. Accordingly, the motion for free
copies of transcripts is without merit and is DENIED.

Should the defendant merely seek to purchase copies of

transcripts, he should correspond directly with the court reporter

 

2 Moreover, there is a split of authority regarding' whether the

transcript may be obtained before the actual filing of the § 2255 motion. gfi
United States v. Losing, 601 F.2d 851 (8th Cir. 1979)(transcript cannot be
provided under § 753(f) until § 2255 motion actually has been filed) with Qnited
States v. §hoaf, 341 F.2d 832 (4th Cir. 1964)(transcript should be provided to
assist in preparation.of motion if the putative movant makes a showing of need).
For a thorough analysis of the underpinnings of these two cases and their
progeny, see gnited Etates v. ghambers, No. 87-CR*80933-DT-04, 1992 U.S. Dist.
LEXIS 4024 (E.D. Mich. March 23, 1992). The inadequacy of defendant's motions
renders resolution of this issue unnecessary.

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through the Court Clerk's office and make the appropriate
arrangements for pre-payment.

Clinton also seeks a copy of “the complete lawyers[‘] files of
all information pertaining” to his case. To the extent that
Clinton requests free copies of documents filed in his criminal
case, his motion should be construed as a motion under 28 U.S.C. §
1915(a). The request is without merit, however. Under 28 U.S.C.
§ 1914(b), the district court must collect a fee for photocopies of
court records and reproductions of magnetic tape recordings in an
amount prescribed by the Judicial Conference of the United States.
The Judicial Conference Schedule L 4(1) sets the photocopying fee
at fifty cents per page and § 5 sets the fee for reproduction of an
audio tape recording at twenty dollars per cassette. nga Judicial
Conference Schedule ¢Jf Fees, note following 28 IJ.S.C. § 1914.
Section 1915 does not "give the litigant a right to have documents
copied and returned to him at government expense." In Re Richard,
914 F.2d 1526 (6th Cir. 1990)(denying petition seeking writ of
mandamus directing district court to provide free copy of the
notice of appeal in case dismissed under § 1915(d)).

Furthermore, the files of appointed counsel are not within the
keeping of this court. While appointed counsel was entitled to
free copies of any documents in the record that were needed to
represent the defendant on appeal, that appeal has concluded and
counsel's representation has ceased. It is not appropriate to
require Clinton’s counsel to provide Clinton with copies of the

record and transcripts. No provision of law entitles the defendant

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to any additional free copies for his personal use. Defendant may,
of course, obtain access to any public records available from the
Court, but he must pay a fee for any copies he requests.
Accordingly, also construed as a motion for free copies, the motion
is without merit and is DENIED.

With regard to Clinton's motion for an extension of time to
file a motion to vacate, this Court does not have the authority to
grant extensions of time to file § 2255 motions. Starnes v. United
States, 18 Fed. Appx. 288, 293 n.2 (6th Cir. Aug. 22, 2001) (“[W]e
note that the fact that the statute of limitations may be waived
does not mean that the courts have the power to extend the period
upon motion of a defendant. The courts that have addressed this
issue have uniformly held that they lack jurisdiction over motions
to extend the time in which to bring § 2255 motions; rather, the
court may not consider the timeliness of a § 2255 motion until the
petition is actually filed.”); Reed.v. United States, 13 Fed. Appx.
311, 313 (6th Cir. June 15, 2001) (affirming dismissal of § 2255
motion as time barred; “Although Reed argued that the district
court had granted him leave to file an untimely § 2255 motion in a
letter predating the filing of his motion, the district court did
not have the authority' to do so. Federal courts simply' lack
jurisdiction to consider a request for an extension of time to file
a § 2255 motion.”); see also United States v. Chambliss, No. 97-
1655, 1998 WL 246408, at *l (6th Cir. May 4, 1998) (“The timeliness

of a § 2255 motion can be addressed by the district court if and

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when a § 2255 nmtion is filed. There is currently no case or
controversy and this court does not render advisory opinions ”).

Defendant’s motion for an order extending the limitations
period is DENIED. The defendant also should not assume that the
pendency of this motion tolled the time for filing a § 2255 motion.
§§§ Starnes, 18 Fed. Appx. at 293 n.2.

IT IS SO ORDERED this MH" day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

